                                          Case 2:16-cv-05051-GW-AFM Document 536-1 Filed 06/04/18 Page 1 of 2 Page ID
                                                                          #:15321


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                                           14                            UNITED STATES DISTRICT COURT
                                           15                          CENTRAL DISTRICT OF CALIFORNIA
                                           16                                      WESTERN DIVISION
                                           17 ALS SCAN, INC.,                                Case No.: 2:16-cv-05051-GW-AFM
                                           18                     Plaintiff,                 [PROPOSED] ORDER ON
                                                                                             CLOUDFLARE, INC.’S MOTION
                                           19         v.                                     FOR RECONSIDERATION
                                           20 CLOUDFLARE, INC., et al.,                      Judge:     Hon. George H. Wu
                                                                                             Hearing:   June 18, 2018
                                           21                     Defendants.                Time:      8:30 a.m.
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                                                [PROPOSED] ORDER ON CLOUDFLARE, INC.’S                  CASE NO. 2:16-CV-05051-GW-AFM
                                                MOTION FOR RECONSIDERATION
                                          Case 2:16-cv-05051-GW-AFM Document 536-1 Filed 06/04/18 Page 2 of 2 Page ID
                                                                          #:15322


                                            1         On May 1, 2018, Cloudflare, Inc. filed a motion for reconsideration
                                            2 (Dkt. 522) of the Court’s March 13, 2018 Order on Cloudflare and ALS Scan’s
                                            3 motions for summary judgment (Dkt. 405).
                                            4         The Court hereby grants Cloudflare’s motion for reconsideration. In view of
                                            5 the settlement between the parties, the Court deems ALS Scan’s summary judgment
                                            6 motion (Dkt. 324) and Cloudflare’s summary judgment motion (Dkt. 347) moot.
                                            7 Accordingly, the Court hereby withdraws its March 13, 2018 Order.
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                                           10 Dated:
                                                                                         Honorable George H. Wu
                                           11                                            United States District Court Judge
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                       ATTORNEYS AT LAW




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                                                [PROPOSED] ORDER ON CLOUDFLARE, INC.’S   1                 CASE NO. 2:16-CV-05051-GW-AFM
                                                MOTION FOR RECONSIDERATION
